         Case 2:19-cv-02121-MWF-JC Document 88 Filed 12/13/21 Page 1 of 4 Page ID #:5595
Name and address:
                 MORGAN, LEWIS & BOCKIUS LLP
                        Barbara A. Fitzgerald
                 300 South Grand Avenue, 22nd Floor
                       Los Angeles, CA 90071

                                              UNITED STATES DISTRICT COURT
                                             CENTRAL DISTRICT OF CALIFORNIA

                                                                           CASE NUMBER
Marcellus McMillian
                                                         Plaintiff(s),                           CV 19-2121-MEF(JCx)

                  v.
                                                                             APPLICATION OF NON-RESIDENT ATTORNEY
Golden State FC LLC, et al.                                                        TO APPEAR IN A SPECIFIC CASE
                                                      Defendant(s),                       PRO HAC VICE
INSTRUCTIONS FOR APPLICANTS
(1) The attorney seeking to appear pro hac vice must complete Section I of this Application, personally sign, in ink, the certification in
    Section II, and have the designated Local Counsel sign in Section III. ELECTRONIC SIGNATURES ARE NOT ACCEPTED. Space to
    supplement responses is provided in Section IV. The applicant must also attach a Certificate of Good Standing (issued within the last 30
    days) from every state bar to which he or she is admitted; failure to do so will be grounds for denying the Application. Scan the
    completed Application with its original ink signature, together with any attachment(s), to a single Portable Document Format (PDF) file.
(2) Have the designated Local Counsel file the Application electronically using the Court's electronic filing system ("Motions and Related
    Filings => Applications/Ex Parte Applications/Motions/Petitions/Requests => Appear Pro Hac Vice (G-64)"), attach a Proposed Order
    (using Form G-64 ORDER, available from the Court's website), and pay the required $500 fee online at the time of filing (using a credit
    card). The fee is required for each case in which the applicant files an Application. Failure to pay the fee at the time of filing will be
    grounds for denying the Application. Out-of-state federal government attorneys are not required to pay the $500 fee. (Certain
    attorneys for the United States are also exempt from the requirement of applying for pro hac vice status. See L.R. 83-2.1.4.) A copy of the
    G-64 ORDER in Word or WordPerfect format must be emailed to the generic chambers email address. L.R. 5-4.4.2.
SECTION I - INFORMATION
Johnson, Ethel J.
Applicant's Name (Last Name, First Name & Middle Initial)                                         check here if federal government attorney
Morgan, Lewis & Bockius LLP
Firm/Agency Name
1000 Louisiana Street, Suite 4000                                        713.890.5000                         713.590.5001
                                                                         Telephone Number                     Fax Number
Street Address
Houston, TX 77002                                                                         ethel.johnson@morganlewis.com
City, State, Zip Code                                                                              E-mail Address

I have been retained to represent the following parties:
Golden State FC LLC, Amazon Fulfillment Services, Inc.                     Plaintiff(s)     Defendant(s)     Other:
Amazon.com Services, Inc., Amazon.com, Inc.                                Plaintiff(s)     Defendant(s)     Other:
Name(s) of Party(ies) Represented

List all state and federal courts (including appellate courts) to which the applicant has been admitted, and provide the current status of his or
her membership. Use Section IV if more room is needed, or to provide additional information.

                   Name of Court                        Date of Admission            Active Member in Good Standing? (if not, please explain)
Southern District of Texas                                June 12, 1992            Yes
Western District of Texas                              December 6, 2007            Yes
Eastern District of Texas                               January 18, 2007           Yes

G-64 (09/20)               APPLICATION OF NON-RESIDENT ATTORNEY TO APPEAR IN A SPECIFIC CASE PRO HAC VICE                             Page 1 of 3
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List all cases in which the applicant has applied to this Court for pro hac vice status in the previous three years (continue in Section IV if
needed):
        Case Number                                    Title of Action                             Date of Application      Granted / Denied?




If any pro hac vice applications submitted within the past three (3) years have been denied by the Court, please explain:




Attorneys must be registered for the Court's electronic filing system to practice pro hac vice in this Court. Submission
of this Application will constitute your registration (or re-registration) to use that system. If the Court signs an Order
granting your Application, visit www.pacer.gov to complete the registration process and activate your e-filing
privileges in the Central District of California.

           SECTION II - CERTIFICATION

           I declare under penalty of perjury that:

           (1) All of the above information is true and correct.
           (2) I am not a resident of the State of California. I am not regularly employed in, or engaged in
               substantial business, professional, or other activities in the State of California.
           (3) I am not currently suspended from and have never been disbarred from practice in any court.
           (4) I am familiar with the Court's Local Civil and Criminal Rules, the Federal Rules of Civil and
               Criminal Procedure, and the Federal Rules of Evidence.
           (5) I designate the attorney listed in Section III below, who is a member in good standing of the Bar
               of this Court and maintains an office in the Central District of California for the practice of law, in
               which the attorney is physically present on a regular basis to conduct business, as local counsel
               pursuant to Local Rule 83-2.1.3.4.

               Dated 12/13/2021                                       Ethel J. Johnson
                                                                      Applicant's Name (please type or print)


                                                                      Applicant's Signature


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SECTION III - DESIGNATION OF LOCAL COUNSEL
Fitzgerald, Barbara A.
Designee's Name (Last Name, First Name & Middle Initial)
Morgan, Lewis & Bockius LLP
Firm/Agency Name
300 South Grand Avenue, 22nd Floor                                213.612.2500                             213.612.2501
                                                                  Telephone Number                         Fax Number
Street Address                                                    barbara.fitzgerald@morganlewis.com
Los Angeles, CA 90071                                             Email Address
City, State, Zip Code                                             151038
                                                                  Designee's California State Bar Number

I hereby consent to the foregoing designation as local counsel, and declare under penalty of perjury that I maintain an office in the
Central District of California for the practice of law, in which I am physically present on a regular basis to conduct business.
               Dated 12/13/2021                                   Barbara A. Fitzgerald
                                                                  Designee's Name (please type or print)


                                                                  Designee's Signature

SECTION IV - SUPPLEMENT ANSWERS HERE (ATTACH ADDITIONAL PAGES IF NECESSARY)

  Name of Court:                        Date of Admission:        Active Member in Good Standing? (if not, please explain)
  Northern District of Texas            2017                      Yes
  US Court of Appeals - 4th Circuit     2014                      Yes
  US Court of Appeals - 5th Circuit     October 24, 1995          Yes
  Texas State Bar                       May 18, 1991              Yes




G-64 (09/20)              APPLICATION OF NON-RESIDENT ATTORNEY TO APPEAR IN A SPECIFIC CASE PRO HAC VICE                       Page 3 of 3
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                               The Supreme Court of Texas
                                                          AUSTIN
                                                    CLERK'S OFFICE




             I, BLAKE HAWTHORNE, Clerk of the Supreme Court of Texas, certify that the
     records of this office show that

                                                   Ethel J. Johnson

     was duly admitted and licensed as an attorney and counselor at law by the Supreme

     Court of Texas on the 1st day of November, 1991.

             I further certify that the records of this office show that, as of this date



                                                   Ethel J. Johnson



     is presently enrolled with the State Bar of Texas as an active member in good standing.


                                                     IN TESTIMONY WHEREOF witness my signature

                                                                    and the seal of the Supreme Court of

                                                                    Texas at the City of Austin, this, the

                                                                    12th day of May, 2021.

                                                                    BLAKE HAWTHORNE, Clerk



                                                                    Clerk, Supreme Court of Texas
     No. 4988C.1




 This certification expires thirty days from this date, unless sooner revoked or rendered invalid by operation of rule or law.
